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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
YAFREICI PERALTA,

                                   Plaintiff,
                 -against-                                                  22 CIVIL 9312 (SLC)

                                                                               JUDGMENT
PCS USA LLC and LOUIS VAN LEEUWEN,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Amended Opinion & Order dated March 12, 2025, the Motion is

GRANTED, and judgment is entered in favor of Peralta and against Defendants in the amount of

$44,140.82, consisting of $44,000 owed on the principal balance under the Settlement

Agreement and $140.82 in interest accrued on past-due installment payments, plus post-

judgment interest pursuant to 28 U.S.C. § 1961. Accordingly, the case is closed.

Dated: New York, New York

          March 12, 2025


                                                                         TAMMI M HELLWIG
                                                                           Clerk of Court



                                                               BY:
                                                                     _________________________
                                                                             Deputy Clerk
